     Case 3:18-cv-01511-S Document 5 Filed 07/11/18                    Page 1 of 2 PageID 30



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

ERICA WILKINS, On Behalf of Herself and            §
All Others Similarly Situated,                     §
                                                   §
       Plaintiff,                                  §
                                                   §
V.                                                 §   CIVIL ACTION NO. 3:18-cv-1511-S
                                                   §
DALLAS COWBOYS FOOTBALL CLUB,                      §
LTD.,                                              §
                                                   §
       Defendant.                                  §

         PLAINTIFF’S STIPULATION OF DISMISSAL WITHOUT PREJUDICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Plaintiff, Erica Wilkins (“Plaintiff”), pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(i), hereby stipulates that the above-captioned action be dismissed without prejudice.

       As of the filing of this document, Defendant Dallas Cowboys Football Club, LTD. has

not served an answer or filed a motion for summary judgment in this action. As such, Plaintiff’s

unilateral stipulation of dismissal without prejudice is appropriate pursuant to Federal Rule of

Civil Procedure 41(a)(1)(A)(i), and no Order from the Court dismissing the above-captioned

action is necessary in order to effectuate dismissal of this action.

DATE: July 11, 2018.

                                                       Respectfully submitted,


                                                       By:     s/ Allen R. Vaught
                                                               Allen R. Vaught
                                                               Attorney-In-Charge
                                                               TX Bar No. 24004966
                                                               avaught@baronbudd.com
                                                               Rebecca Currier
                                                               TX Bar No. 24074098
                                                               rcurrier@baronbudd.com


                                    Plaintiff’s Stipulation of Dismissal Without Prejudice – Page 1
Case 3:18-cv-01511-S Document 5 Filed 07/11/18        Page 2 of 2 PageID 31



                                                Baron & Budd, P.C.
                                                3102 Oak Lawn Avenue, Suite 1100
                                                Dallas, Texas 75219
                                                (214) 521-3605 – Telephone
                                                (214) 520-1181 – Facsimile

                                         ATTORNEYS FOR PLAINTIFF




                       Plaintiff’s Stipulation of Dismissal Without Prejudice – Page 2
